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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. MJ13-180

10          v.                                           DETENTION ORDER

11 JEFFREY LAVIOLETTE,

12                                Defendant.

13 Offenses charged:

14          Conspiracy to Distribute MDMA (Ecstacy) and Possession of MDMA (Ecstacy) with

15 Intent to Distribute.

16 Date of Detention Hearing: April 3, 2013.

17          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

18 and based upon the factual findings and statement of reasons for detention hereafter set forth,

19 finds that no condition or combination of conditions which the defendant can meet will

20 reasonably assure the appearance of the defendant as required and the safety of any other person

21 and the community.

22         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          The Court received no information about defendant’s ties to the community, health,



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 1 employment, financial status or drug and alcohol use. Defendant is not a citizen and there is a

 2 immigration detainer lodged against him. Defendant has robbery convictions in his home

 3 country and there are pending active warrants for his arrest on those matters. Defendant

 4 stipulated to detention and offered no grounds for release.

 5          It is therefore ORDERED:

 6          (1)    Defendant shall be detained pending trial and committed to the custody of the

 7 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8 from persons awaiting or serving sentences, or being held in custody pending appeal;

 9          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

10 counsel;

11          (3)    On order of a court of the United States or on request of an attorney for the

12 Government, the person in charge of the correctional facility in which Defendant is confined

13 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14 connection with a court proceeding; and

15          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

16 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

17 Officer.

18          DATED this 3rd day of April, 2013.

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20                                                        A
                                                          BRIAN A. TSUCHIDA
21                                                        United States Magistrate Judge

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     DETENTION ORDER - 2
